                      Case 2:14-cr-00043-KJM  Document
                                   IN THE UNITED STATES 76 Filed 07/22/14
                                                        DISTRICT  COURT Page 1 of 1
                                              EASTERN DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA,

                                 Plaintiff,

                         v.                                CR NO: 2:14-CR-043-KJM

JOSEPH ROBERT SHARPE,
                                Defendant.


                                APPLICATION FOR WRIT OF HABEAS CORPUS
             The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
                        ☒ Ad Prosequendum                                   ☐ Ad Testificandum
Name of Detainee:       JOSEPH ROBERT SHARPE
Detained at             Butte County Sheriff’s Office
(custodian):
Detainee is:            a.)    ☒ charged in this district by: ☒ Indictment ☐ Information ☐ Complaint
                                  charging detainee with:
                 or     b.)    ☐ a witness not otherwise available by ordinary process of the Court
                                  ___________________
Detainee will:          a.)      ☐ ___________________
                                   return to the custody of detaining facility upon termination of proceedings
                 or     b.)      ☒ be retained in federal custody until final disposition of federal charges
                                   ____________

                          Appearance is necessaryFORWITH in the Eastern District of California.

                        Signature:                              /s/ Sherry D. Hartel Haus
                        Printed Name & Phone No:                SHERRY D. HARTEL HAUS
                        Attorney of Record for:                 United States of America

                                              WRIT OF HABEAS CORPUS
                              ☒ Ad Prosequendum                   ☐ Ad Testificandum

         The above application is granted and the above-named custodian, as well as the United States Marshal's Service
for this district, is hereby ORDERED to produce the named detainee FORTHWITH and any further proceedings to be had
in this cause, and at the conclusion of said proceedings to return said detainee to the above-named custodian.
Dated: 7/18/2014                                             /s/ Carolyn K. Delaney
                                                             Honorable Carolyn K. Delaney
                                                             U.S. MAGISTRATE JUDGE

Please provide the following, if known:
AKA(s) (if                                                                                ☒Male      ☐Female
Booking or CDC #:        130041                                                           DOB:       10/11/1978
applicable):
Facility Address:        33 County Center Drive, Oroville, CA                             Race:
Facility Phone:          (530) 538-7471                                                   FBI#:
Currently                95965

Incarcerated For:        Delano, CA 93215           RETURN OF SERVICE
Executed on:
                                                             (signature)
